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                     UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY

                   COURT FILE NO.: 2:10-cv-05525-PGS -ES


YAKOV SMOTRITSKIY,

                   Plaintiff,                        NOTICE OF DISMISSAL
v.                                                     WITH PREJUDICE

PORTFOLIO RECOVERY ASSOCIATES,
LLC; and DOES 1-10 inclusive,

                  Defendants.


IT IS HEREBY NOTICED by the Plaintiff and his attorneys, that the above-

entitled action against this Defendant shall be and hereby is dismissed with prejudice

and on the merits, without costs, or disbursements, or attorneys’ fees to any party and

that a judgment of dismissal with prejudice may be entered in the above-entitled

action pursuant hereto.

                                            Respectfully submitted,

Dated: December 14, 2010                    BáB fàtÇÄxç fÅÉàÜ|àá~ç
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